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 5   Email: rmarsh@wswlawlv.com
     Attorney for Trevaughn James
 6
 7                           UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA, )
10                                 )              CASE NO. 2:17-CR-00180-JAD-PAL
           Plaintiff,              )
11                                 )           UNOPPOSED MOTION FOR MODIFICATION
                   vs.             )           OF CONDITIONS OF PRETRIAL RELEASE
12                                 )
     TREVAUGHN JAMES,              )
13                                 )              EXPEDITED RELIEF REQUESTED
           Defendant.              )
14   ______________________________)
15          Defendant, Trevaughn James (“Mr. James” or the “Defendant”), by and through his CJA
16   counsel, Russell E. Marsh, Esquire, Wright Stanish & Winckler, hereby files this motion for
17   modification of his conditions of pretrial release. This motion is not opposed by the Government
18   or U.S. Pretrial Services. Mr. James asks for the expedited consideration on this motion, and that
19   he be allowed to appear telephonically at any hearing on this motion. This motion is made and based
20   upon the attached memorandum of points and authorities, the pleadings and papers on file herein,
21   and any further argument allowed by the Court at any hearing on this motion.
22                                                Respectfully submitted:
23                                                WRIGHT STANISH & WINCKLER
24
25                                                BY              /s/ Russell E. Marsh
                                                       RUSSELL E. MARSH, ESQUIRE
26                                                     Attorney for Defendant Trevaughn James
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2          In this case, the Government charged the defendants with conspiracy and other offenses in
 3   relation to an alleged interstate vehicle theft scheme. Mr. James has been charged with one court
 4   of Conspiracy to Transport Stolen Vehicles (Count 1), in violation of 18 U.S.C. § 371; and one count
 5   of Wire Fraud (Count 11), in violation of 18 U.S.C. § 1343. (ECF No. 1 at 1-11, 16.)
 6          Mr. James was arrested where he was staying with his family near Houston, Texas. He was
 7   ordered detained following a hearing before a magistrate judge in the Southern District of Texas.
 8   (ECF No. 82.) Mr. James did not have a new detention hearing before the magistrate judge when
 9   he appeared initially in this District, and he remained in custody. (ECF No. 120.)
10          Mr. James sought review of the detention order before the district judge. (ECF No. 160.)
11   Following a briefing and a hearing on this matter, Judge Dorsey ordered Mr. James released and
12   allowed him to return to Texas under strict conditions. (ECF Nos. 177, 178.) Among other
13   conditions, Mr. James was ordered to reside with his mother, who was named as his custodian, and
14   he was placed on home confinement with electronic monitoring. (ECF No. 178 at 4-6.)
15          Mr. James seeks modification of his pretrial release conditions, pursuant to 18 U.S.C. §
16   3142(C)(3), which allows the court to amend a defendant’s conditions of release at any time.
17   Specifically, Mr. James asks that the Court amend his release order to remove the conditions of
18   home detention with location monitoring. This will better allow Mr. James to pursue educational,
19   employment and business opportunities. It will also allow him to provide transportation for his
20   grandparents, who live nearby and are in ill health.
21          Defense counsel has contacted U.S. Probation Officer Reginald Hollins in Houston, Texas,
22   who supervises Mr. James’ pretrial release. Officer Hollins does not oppose the proposed
23   modification of the conditions of Mr. James’ pretrial release. Officer Hollins advised counsel that
24   Mr. James has been fully compliant with all conditions; that he has strong ties to the community and
25   lives with his mother; and that in his view Mr. James does not pose a risk of flight and is not a
26   danger to the community based on the nature of the charges. Mr. James’ Pretrial Services Officer
27   in Las Vegas, Austin Allison, agrees with Officer Hollins, and does not oppose Mr. James being
28   taken off home detention and electronic monitoring.


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 1          Defense counsel also contacted Assistant U.S. Attorney Frank Coumou, who is one of the
 2   prosecutors representing the Government in this case. AUSA Coumou advised counsel that the
 3   Government does not oppose this motion.
 4          Wherefore, Mr. James asks that this Court grant his unopposed motion, and modify his
 5   conditions of pretrial release to remove the conditions of home detention and location monitoring,
 6   with all other conditions remaining the same. Mr. James will still be required to maintain the same
 7   residence, under the custodianship of his mother. Mr. James requests that if the Court holds a
 8   hearing on this motion, he be allowed to attend telephonically.
 9          Dated this 5th day of December, 2017.
10                                                WRIGHT STANISH & WINCKLER
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12
                                                  BY              /s/ Russell E. Marsh
13                                                     RUSSELL E. MARSH, ESQUIRE
                                                       Attorney for Defendant Trevaughn James
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17   DATED: 12/7/2017                        ORDER
18                                            motion to modify
     IT IS ORDERED that the defendant's conditions       of      the
                                                            pretrial
                                                         UNITED      conditions
                                                                     release
                                                                  STATES     areofmodified
                                                                          DISTRICT his pretrial
                                                                                    COURT  to
                                                                                            JUDGE
     release is
     remove     GRANTED.
             home   detention The
                                andhome   detention and location
                                     location                     monitoring
                                                          All of the
                                                         JENNIFER     defendan
                                                                     A. DORSEYconditions are
                                                                                  previously
19
     removed.conditions
     imposed    All other previously
                          still apply. imposed conditions still apply.
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21
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23   DATED: 12/7/2017
                                                                __________________________
24
                                                                 JENNIFER A. DORSEY
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 1                                    CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on the 5th day of December, 2017, I caused a copy of the
 3   foregoing UNOPPOSED MOTION FOR MODIFICATION OF CONDITIONS OF PRETRIAL
 4   RELEASE to be served via the Court’s CM/ECF electronic filing system addressed to all parties on
 5   the e-service list or either, emailed, hand delivered, facsimile or placed in the United States mail,
 6   postage prepaid.
 7   Officer Reginald Hollins
     U.S. Probation
 8   Houston, TX
 9
     Austin Allison
10   Pretrial Services
     333 Las Vegas Boulevard South
11   Suite 1112
     Las Vegas, NV 89101
12
13                                                 BY         Debbie Caroselli
                                                     An employee of Wright Stanish& Winckler
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